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oflmtx13 (04/10)




In Re: Lorie Lynn Rones                                                                       Case No.: 18−00728−SMT
                                                                                                            Chapter: 13
                                         United States Bankruptcy Court for the
                                                  District of Columbia
                                         E. Barrett Prettyman U. S. Courthouse
                                           333 Constitution Ave, NW #1225
                                                Washington, DC 20001
                                                     (202) 354−3280
                                                 www.dcb.uscourts.gov


                          ORDER TO FILE A MAILING MATRIX OR SHOW CAUSE
                          ================================================

  On 11/09/2018 the debtor(s) commenced the above−captioned chapter 13 case. Local Bankruptcy Rule 1007−2
requires that with every petition there shall also be filed a mailing matrix. The debtor(s) failed to file a mailing matrix
with the petition.1 Accordingly, it is

  ORDERED that within 7 days of the entry of this order the debtor(s) shall file a mailing matrix or show cause, by a
writing filed with this court, why the case ought not be dismissed.
Copies to:
Debtor(s)
Attorney for the Debtor(s) (if any)
Chapter 13 Trustee

_______________________________
1The clerk's office's instructions for preparation of the matrix and the cover sheet to be utilized for the matrix are
available at the clerk's office and on the court's website at www.dcb.uscourts.gov under Bankruptcy Information:
Forms: Court's Local Forms: General Mailing Matrix Requirements.


                                                                                          For the Court:
                                                                                          Angela D. Caesar
Dated: 11/9/18
                                                                                          By:
                                                                                          FB
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                           MAILING MATRIX GUIDELINES FOR THE
              UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLUMBIA

A mailing matrix must conform to the following guidelines:

   − A mailing matrix consists of eight or nine creditors per page with their complete addresses, clearly typed,1 left
justified and centered in a single column down the middle of one side of an 8 1/2" X 11" sheet of paper.

   − The mailing matrix must be typed on blank, white, 20 lb. paper. Do not use textured, onion skin, or colored
paper. This will cause our scanner to misread information. The paper should not have any stray lines, staples, or holes.
   − The mailing matrix must be typed in one of the following standard typefaces or font styles: Courier 10 pitch or
12 pitch on a word processor; Prestige Elite 12 pitch; Letter Gothic 10 pitch on a typewriter. To ensure the scanner
can read the matrix, it must be printed from a laser quality printer or typewriter.

   − Each creditor's address must be single−spaced. Triple−spaced between each address. A margin of at least one
inch should appear at the top and bottom of each page.

    − Each creditor's address must consist of no more than five total lines, including the creditor's name, street address,
city, state and zip code.
   − No account numbers should be included on the matrix.
    − The city, state and zip code must all appear together on the final line of each creditor's address. The zip code
should never be dropped down to a separate line. No other lines of address information should appear after the city,
state and zip code line.

   − Commas must be placed between the city and state in the address.

   − A "List of Creditors and Mailing Matrix" cover sheet should accompany the mailing matrix.2 This cover sheet
should not be stapled to the mailing matrix but should be attached by a paper clip or a clamp. These pages should not
be hole punched.

−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−

   1
   A pdf−fillable form for preparing the mailing matrix is available on our website. You may use the computer in the
intake area at the clerk's office to gain access to the website and to prepare and print out the mailing matrix.

   2
   The list required by Fed. R. Bankr. P. 1007(a) of creditors and certain other entities (the so−called List of
Creditors) can be combined with the Mailing Matrix, and that simplifies the filing of the two documents. The
requirement in the Guidelines of a List of Creditors and Mailing Matrix cover sheet assumes that the debtor is
combining the two documents in a single document. The form cover sheet is available on our website in a pdf−fillable
format. Debtors may use the computer in the intake area at the clerk's office to gain access to the website and to
prepare and print out the cover sheet.

Matrix Example:
BankoPlus Insurance Corp.
9956 MacAllister Road
SanAntonio, TX 78223
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                                        The List of Creditors and the Mailing
                              Matrix: the Two May Be Combined in a Single Document

    Fed. R. Bankr. P. 1007(a) requires a list of creditors and certain other entities (the so−called List of Creditors). By
Local Rule, the court requires a mailing matrix prepared according to guidelines posted by the clerk for each entity
listed on the List of Creditors. Those two documents − (1) the List of Creditors and (2) the Mailing Matrix − can be
submitted as a single document, and this website provides a sample form of cover sheet to be used for that purpose.

   The sample cover sheets is in pdf−fillable format.

  Nevertheless, a debtor may file the List of Creditors as a document seperate from the corresponding Mailing
Matrix. In either case, the List of Creditors must be signed under penalty of perjury (or otherwise verified).
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                                      UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF COLUMBIA


In Re                                                          )


                                                               )

                                                                                         Case No.
                                                               )                         ____________________

                                                               )                         (Chapter ____)


                                                 Debtor(s).    )

                                  LIST OF CREDITORS AND MAILING MATRIX
   1. The attached list, serving both as the list required by Rule 1007(a) (1) of the Federal Rules of Bankruptcy
Procedure and as the mailing matrix required by the court's Local Bankruptcy Rules, consists of ______ pages and a
total of ______ entities listed.

   2. The attached list contains a true and correct name and address of:

  − each of my creditors (those entities required to be scheduled on Schedules D.E. and F. the Schedules of Creditors
Holding Claims, in this case),

   − each of the parties required to be listed on Schedule G − Executory Contracts and Unexpired Leases, that is, the
parties other than myself, to any unexpired lease of real or personal property to which I am a party;

    − each entity required to be listed on Schedule H − Codebtors (any entity, other than my spouse in a joint case, that
is also liable on any debts owed to any of my listed creditors, including all guarantors and co−signers).
I declare under penalty of perjury that the foregoing is true and correct.
   Executed on this ____ day of ____________, __________ by:
                             ____________________________________________
                             Debtor

   Executed on this ____ day of ____________, __________ by:

                             ___________________________________________
                              Joint Debtor (if joint case filed by both spouses)
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                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 18-00728-SMT
Lorie Lynn Rones                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 09, 2018
                                      Form ID: oflmtx13                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 11, 2018.
db             +Lorie Lynn Rones,   2922 Pennsylvania Ave, SE,   Washington, DC 20020-3837

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 11, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 9, 2018 at the address(es) listed below:
              Nancy Spencer Grigsby   grigsbyecf@ch13md.com
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                            TOTAL: 2
